CaSe ZZlO-CV-l4360-DPH-|\/|K|\/| ECF NO. 342-2 filed 09/14/18 Page|D.lSOSZ Page 1 Of 8

EXHIBlT A

CaSe ZZlO-CV-l4360-DPH-|\/|K|\/| ECF NO. 342-2 filed 09/14/18 Page|D.lSOSS Page 2 Of 8

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

THE SHANE GROUP INC.; BRADLEY

A. VENEBERG; SCOTT STEELE;

MICHIGAN REGIONAL COUNCIL OF Case No. 2110-cv-l4360
CARPENTERS El\/IPL()YEE BENEFITS

FUND; ABATEMENT WORKERS Honorable Denise Page Hood
NATIONAL HEALTH AND WELFARE

FUND; and l\/IONROE PLUMBERS AND

PIPEFITTERS L()CAL 671 WELFARE

FUND,

Plaintiffs,

V.

BLUE CROSS AND BLUE SHIELD OF
MICHIGAN,

Defendant.

 

DECLARATION OF PERRIN RYNDERS IN SUPPORT OF M()TION FOR
ATTORNEY FEES AND COSTS

Perrin Rynders declares that he Would testify as follows if called as a witness

in this matter:

General Experience
l. l am an equity partner With the law firm Varnum LLP. l graduated

from the University of Michigan Law School, cum laude, in 1985 and have been

practicing law With Varnum continually since then.

CaSe 2210-CV-14360-DPH-|\/|K|\/| ECF NO. 342-2 filed 09/14/18 Page|D.18034 Page 3 Of 8

2. l\/ly practice focuses on civil litigation l have prosecuted and
defended a wide variety of business, commercial, employment, product liability,
personal injury, and tax matters.

3. A Substantial portion of my time is currently Spent on complex
litigation matters, including matters brought on behalf of ERISA health and
welfare benefit plans. For example, within the past five years l have been lead
counsel on cases for health and welfare benefit plans where hundreds of millions of
dollars were in dispute.

4. l have tried more than three dozen cases in state and federal courts,
plus several arbitrations and various administrative contested cases and evidentiary
hearings My trial practice has been conducted in federal and state courts around
the country (with trials to verdict or judgment in Florida, lllinois, Indiana, Ohio,
and l\/Iichigan).

5. l am admitted to practice in all l\/Iichigan courts and the following
federal courts:

United States District Court, Eastern District of Michigan
United States District Court, Westem District of Michigan
United States District Court, Northern District of Indiana
United States Court of Federal Claims

United States Court of Appeals for the Sixth Circuit
United States Court of Appeals for the Eighth Circuit

United States Court of Appeals for the Eleventh Circuit
United States Court of Appeals for the Federal Circuit

FQQ .H».G> .CL.<>,O*S>

6. l am a fellow of the American College of Trial Lawyers.

CaSe 2210-CV-14360-DPH-|\/|K|\/| ECF NO. 342-2 filed 09/14/18 Page|D.18035 Page 4 Of 8

7. l have been, and remain, involved in many bar association activities.
For example, l am a past chair of the Ethics and Prof`essionalism Committee of the
TIPS Section of the American Bar Association, and I also chaired the Trial
Techniques Comrnittee of the TIPS Section of the ABA. l have served on various
councils and committees of the State Bar of Michigan and Grand Rapids Bar
Association, and l served on the Litigation Advisory Board of the lnstitute of
Continuing Legal Education.

8. I am a fellow of the Michigan State Bar Foundation and the Litigation
Counsel of America. l have a Martindale Peer Review Rating of AV®
PreeminentTM (5.0 out of 5). l was first listed in Michigan Super Lawyers in 2007,
and l have been listed in Best Lawyers since 2012.

Billing Arrangements

-9. Varnurn has been retained as legal counsel for each Self-Insured
Objector identified above.

lO. l am the "billing partner" for each of the above~identified objectors in
this case, which means l am responsible for all billing decisions (consistent with
Varnum's internal policies and procedures, and more generally the Michigan Rules

of Professional Conduct).

CaSe 2210-CV-14360-DPH-|\/|K|\/| ECF NO. 342-2 filed 09/14/18 Page|D.18036 Page 5 Of 8

Hours Spent Representing Obiectors

ll. l have carefully reviewed and ensured the accuracy of all of billing
records reflecting time entries generated by Varnum attorneys in connection with
their representation of the Self-lnsured Obj ectors in this matter.

12. Just as l would have done with any other client, l excluded or reduced
any billing entries l found to be redundant, excessive, or otherwise unnecessary
This is my customary practice, Varnum's customary practice, and presumably the
customary practice of attorneys throughout Michigan when submitting a bill to a
client.

13. l never increased the amount of time recorded by any timekeeper.

l4. Attached to the brief in support of the Self-lnsured ijectors' Motion
for Attorney Fees and costs as Exhibit B is an itemized listing that reflects the
number of hours Vamum attorneys spent representing the Self-Insured Objectors
that, in my professional judgment, were reasonable and necessary to represent the
Self-lnsured Objectors. The total number of hours is 382.45 through the
completion of the appeal on June 7, 2016. Additional time will be spent in
connection with this petition.

15. The last page of the bill contains a summary showing the names of all
timekeepers and the total number of hours each recorded that ended up on the

attached itemization.

CaSe 2210-CV-14360-DPH-|\/|K|\/| ECF NO. 342-2 filed 09/14/18 Page|D.18037 Page 6 Of 8

Hourly Billing Rates

16. That same summary also shows the hourly rates of all timekeepers.

l7. The rates for equity partners range from $380 to $530. The rate for
non-equity partners range from $340 to $510. The rates for associates range from
$230 to $340. These rates are Varnum's established hourly billing rates.

18. l believe these billing rates are consistent with those charged in the
Grand Rapids and Detroit legal markets Additionally, l believe these rates are
consistent with the skill and experience of the respective attorneys and paralegals
ln this regard:

l9. In this particular matter, with regards to Bryan Walters, who has
handled the bulk of the work on this matter, Bryan Walters is an equity partner at
Varnum. He graduated from the University of Michigan Law School, cum laude,
in 1997, where he was a contributing editor to the Michigan Law Review. After
graduating law school, Bryan was a law clerk for the Honorable Gordon J. Quist
for the Western District of Michigan. Bryan has continually practiced law at
Varnum for nearly 20 years. Bryan specializes in commercial litigation, having
tried numerous cases to verdict in both first and second chair roles. Bryan has a
Martindale Peer Review Rating of AV® PreeminentTM (4.9 out of 5) in both civil
litigation and patent litigation and is listed in Besz‘ Lawyers. Bryan is the

immediate past president of the Western District of Michigan Chapter of the

CaSe 2210-CV-14360-DPH-|\/|K|\/| ECF NO. 342-2 filed 09/14/18 Page|D.18038 Page 7 Of 8

Federal Bar Association and has served as an officer in that organization for
several years.

Non-Taxable Costs

20. Another responsibility of mine as the billing partner for this matter is
to ensure that the Self-Insured Objectors are only billed for costs reasonable and
necessary to their representation, consistent with the terms of their engagement

21. ln regard to the costs that the Self-Insured ()bjectors seek to include in
their motion, l excluded every cost that l would not have billed a client in a typical
engagement

22. The Self-Insured Objectors agreed to reimburse expenses associated
with required travel, computer research, postage and printing, and other necessary
costs associated with the litigation process at their actual cost. This language is
standard in all of Varnum's engagement agreements with clients.

23. ln representing the Self-Insured Objectors, Varnum incurred the non-
taxable costs totaling $l,822.28, that in my professional judgment were (a)
reasonable and necessary to the Self-Insured ijectors' representation, (b) agreed
to be paid by the Self-lnsured Objectors, and (c) of the type that Varnum and other
Michigan practitioners typically bill to a client. An itemization of these costs is
attached to the brief in support of the Self-Insured Objections l\/Iotion for Attorney

Fees and Costs as Exhibit C.

CaSe 2210-CV-14360-DPH-|\/|K|\/| ECF NO. 342-2 filed 09/14/18 Page|D.18039 Page 8 Of 8

24. In short, the Self-Insured Objectors' Motion for Attorney Fe_es only
requests fees and costs that were reasonable and necessary to represent the interests
of the Self-lnsured Objectors in this matter. Furthermore, these amounts
accurately refiect an amount that, in my judgment, similar practitioners would have
charged the Self-lnsured Objectors for the same services that Varnum provided. ln
addition to that, all of the fees and costs the Self-Insured Objectors seek are the
kind that Varnum and similarly situated practitioners typically charge their clients.

Pursuant to 28 U.S.C. § 1746, l declare under penalty of perjury that the

foregoing is true and correct.

     

/‘ 1 j
wea¢*y jj;// jj
Date: September l4, 2018 \ . ,< €/ /jj /~j

 

Perrin Rynd€§:ri_

13980605_1 .docx

